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Case 2:19-cv-01211-TL Document 1 Filed 08/06/19 Page 1 of 13

UNITED STATES DISTRICT COURT FOR THE
WESTERN DISTRICT OF WASHINGTON

Huifang Zhang (American citizen, also 1.G and D.G's mother);

Huifang Zhang also on behalf of I.G and D.G, both I.G and D.G are minor and American citizen,
I.G is 5 year old and D.G is 4 year old.

Shunichi Takahashi(Japanese citizen, also I.G and D.G's father);

Plaintiffs,
V.

United States of American; U.S. Department of Homeland Security; U.S. Customs and Border
Protection;

Kevin K. McAleenan,in his official capacity as Acting Secretary of the U.S. Department of
Homeland Security;

Kevin K. McAleenan, in his official capacity as Commissioner of U.S. Customs and Border
Protection

Defendants.

Table of Contents

Jurisdiction and Venue
Parties

Background

Summary 1

Summary 2

Cause of Action
Prayer For Relief

Fact Summary

Jurisdiction and Venue

1. The court has jurisdiction pursuant to 28 U.S.C. § 1346(b) ("FTCA") and 28 U.S.C. § 1331 and
5 U.S.C. § 702 and 28 U.S.C. § 2201(a)

2. Venue is proper in this district pursuant to 28 U.S.C. § 1391(b)(2) and 1391(e)(1). Defendants
are United States agencies or officers sued in their official capacities, and a substantial part of the
events or omissions giving rise to this claim occurred in Seattle,within the Western District of
Washington.

3. Pursant to 28 U.S.C § 2675(a), the claims set forth herein were presented to U.S. Customs and

Border Protection(“CBP”). The CBP denied the claims on February 4, 2019. Plaintiffs have
therefore exhausted all administrative remedies.

Parties
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Case 2:19-cv-01211-TL Document 1 Filed 08/06/19 Page 2 of 13

4. Plaintiff Huifang Zhang(American citizen, also 1.G and D.G's mother);

5. Plaintiff Huifang Zhang also on behalf of I.G and D.G, both I.G and D.G are minor and
American citizen,I.G is 5 year old and D.G is 4 year old. (I.G. was 17months old while D.G. Was 7
months old when this incident happened)

6. Plaintiff Shunichi Takahashi(Japanese citizen, also I.G and D.G's father);

7. Defendant United States is sued under the Federal Tort Claims Act for the tortious acts of its
employee.

8. Defendant Kevin K. McAleenan is the Acting Secretary of the U.S. Department of Homeland
Security. He is responsible for implementing and enforcing the Immigration and Nationality
Act(“INA”), and oversees the U.S. Customs and Border Protection (“CBP”) . He is sued in his
official capacity.

Defendant Kevin K. McAleenan is the Commissioner of U.S. Customs and Border Protection
(“CBP”) ,He is sued in his official capacity.

Background

9. We pay our respect to U.S. Customs and Border Protection (“CBP”) : one of great law
enforcement agencies, to safeguard America's border,while fostering the Nation's economic security
through lawful international trade and travel with integrity and defending and upholding the
Constitution of the United States.

10. However,
Firstly,we also need to turn to the fact: CBP has about 60,000 employees, but in 2015 alone
257 Arrest 3310 Discipline Violation and took action(demotion,removal,suspension...)
(Exhibit 1: CBP Discipline Overview Fiscal Year 2015)

11. About 5% violation proportion, seems to be extremely high ratio compared with other
government agencies and private sectors, and also shows violation of Constitution, Statute,Rules
has been persistent problem inside CBP.

12. Secondly,CBP senior executive James F.Tomsheek at CBP's Internal Affairs,sought protection
under the Whistleblower Protection Act,after he made a number of allegations at CBP.

(Exhibit 2)
13. This also shows CBP not only is seriously lack of internal compliance,but also retaliate on its’

own senior rank employee, not to mention the general public.

Summary 1 (from Shunichi Takahashi)
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Case 2:19-cv-01211-TL Document 1 Filed 08/06/19 Page 3 of 13

14. Shunichi Takahashi(“S.T”, Japanese citizen) is an International Japanese Businessman. When
traveling across the border of Blaine,WA, on Sep 29,2015.

15. S.T was forced to accept the secondary inspection due to not having admission stamp on the
passport for the previous entry. But later the fact showed it was the CBP's mistake and negligence to
forget to stamp.

16. To cover up their mistake, instead of maintaining dignity and apologizing, CBP officer Paul J.
Carter(“Paul”, Caucasian) alone still detained and investigated S.T for 7 hours in a small and cold
room, in order to find any excuse to refuse S.T's entry, also repeatedly race discriminated and
humiliated S.T. For example, he contemned S.T repeatedly by “ Visa Waiver Program(“VWP”) is
privilege for your people”. Similar with Mr. Trump's “send you back” recently. Actually VWP is
fair mutual treaty between 2 countries(Japanese can enter USA without visa and simultaneously
American can enter Japan without visa too), and “your people” means Asian here. But the issue is
maybe Mr.Trump doesnot really mean that, but it seems Paul really means that.

17. Paul used fraudulent and malicious Misleading Question Technique including:
(a) add the words S.T never said (Exhibit 3_1, 3_2, 3_3)
(b) make S.T think Paul is asking about A, but use S.T's answer for B (Exhibit 4_1,4_2)

18. When S.T found what Paul wrote on S.T's “Sworn Statement(Paul's only evidence against
S.T)” was not genuine and not what S.T said, S.T asked Paul to correct it,but Paul refused and
threatened S.T to sign by “if you don't sign, it means you don't cooperate, which will affect your
entry into U.S in the future”. S.T still refused to sign.

19. The consequence turned out to be The Fraudulent S.T's Sworn Statement without S.T's
signature is very different from the fact which published by IRS and other government agencies.

20. But based on The Fraudulent 5.T 's Sworn Statement written by Paul, Officer Paul revoked
S.T's VWP and refused S.T's admission into the USA. He charged S.T as "as investor of one US
company, performing direct sales and installation of lighting equipment ", all because according to
the US government visa regulation, visiting foreigners can be the investor of US company, or
perform sales and promotion work in US(including technical support), But just cannot both being
the investor of US company and at the same time perform daily corporation operation work. You
need to satisfy the both 2 essential elements to violate the visa regulation. But IRS report shows S.T
even doesn't hold one single share of that US company. And there is no any evidence show S.T
performing daily corporation operation work.

21. The worse thing is Paul never explained why CBP forgot to stamp admission on S.T's passport
which caused S.T to be detained from the beginning, and never apologize for this mistake.

22. Then S.T reported the solid fact to the CBP unit, but instead of maintaining dignity and
apologizing, the supervisors (Cynthia Ralko, John Dahm) indirectly admitted their misconduct and
negligence by avoiding answering S.T's report, just suddenly switched S.T's doubtful charge to
another ridiculously new one: “intending immigrant as having 2 US citizen children” (Exhibit 5_1,
5_2), which can be comprehensively considered as “Cover up” ,“Harassment”and
“Retaliation”.Moreover, seems there is no any seriousness there. For those CBP officers, it is just
like a small card game in the every afternoon after the lunch, if this card doesnot work, just bring
another card. So if this charge doesnot work, just bring another one.
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Case 2:19-cv-01211-TL Document 1 Filed 08/06/19 Page 4 of 13

23. The following logical and legitimate reasons strongly support and make everyone in
Democracy and Constitutional country believe all the above CBP did are just “Cover up”,
“Harassment” and Retaliation.

(a) The suddenly switched new charge is absolutely 100% unrelated to the old charge,very
unnatural and irrational. Just like the Mathematics teacher spent a lot of time explain to you why
you failed the Mathematics exam, but suddenly he just quit and said “I saw you ran slowly at the
gym(physical education class).Make the true incentive and purpose behind it looks very dubious.

(b) There are 5 months between Paul charged S.T and his supervisors got S.T's report, they had
plenty time to discover the mistake and correct it if the mistake is true, but they did not. And just
shortly after S.T’s report, they suddenly changed their original doubtful charge,it is so unnatural and
illogical , which only means the latter changed new one is only Lie,Destruction of Evidence and
Retaliation.

(c) Every reasonable people will think just “because having US citizen children,which mean you
are intending immigrant” sounds very ridiculous. British royal family prince harry got married with
American actress Meghan Markle, their baby is American citizen. Is prince harry intending
immigrant? Is prince harry banned to enter USA because he is intending immigrant? If prince
harry's US citizen baby's father(prince harry) is not banned to enter USA, why my US citizen baby's
father(me) have to be banned to enter USA? Is it a totally and obviously violation of constitutional
right to equal protection? of course, it is!!!

On the other hand, even after having 2 US citizen children, S.T became so qualified well for the
immigrant visa,but he did not apply one, which apparently, legitimately and logically proves he is
not intending immigrant.

(d) All the CBP evidence is The Fraudulent S.T's Sworn Statement, which barely mentions
anything about S.T's children and intending immigration, and almost all words are focused on "as
investor of one US company, performing direct sales and installation of lighting equipment ".Again
just like the Mathematics teacher spent the whole day explain to you why you failed the
Mathematics exam, he is supposed to ask you question about Mathematics, but suddenly he just quit
and changed the topic 100% “I saw you ran slowly at the gym(physical education class),that is why
I failed you at my Mathematics class”.

(e) Again CBP officers switched their refusal charge on S.T's admission. It is switch, which
means they actually rescinded the prior charge and bring the new one on S.T's admission. But if
they rescinded the prior refusal charge on S.T's prior admission to USA,which mean S.T can enter
USA freely again now,how can they bring the new refusal charge on S.T without S.T's new
admission? Very simple: S.T has not tried to enter USA since then, how can they refuse S.T's
admission?

24. Above also reminds us of the similar situation of James F.Tomsheek even at CBP's Internal
Affairs, he is senior executive at CBP but still got Retaliation, not to mention the general public: us.
So it is pity to say that some CBP officers, they do forget their duty of dignity and justice, but let
vanity and immorality come to their first priority.

Summary 2 (from Huifang Zhang)

25. Huifang Zhang(“H.Z”, US permanent resident and became US citizen one year later) and her 2
babies(US citizens) traveling across the border of Blaine,WA,on Sep 29,2015,with S.T, CBP officer
Paul (Caucasian) detained H.Z and her 2 babies without returning passports to them.
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Case 2:19-cv-01211-TL Document 1 Filed 08/06/19 Page 5 of 13

26. No chair to sit except cold floor, and no baby formula and water provided during the whole 7
hours From 5pm to midnight. Both I.G. And D.G were tired, hungry and scared, they cried all the
time. H.Z. had to carry the babies with arms all the time,starving,exhausted and frightened, which
caused them serious PTSD and Anxiety Disorder. (Exhibit 6_1, 6_2, 6_3, 6_4).

27. Finally at midnight 12 pm,Paul illegally forced H.Z and her 2 US citizen babies leave US and
sent them back to the border of Canada, without explaining any reason, and returned the passports
to them on the border of Canada. And they are all Asian.

28. H.Z and her 2 children were so shocked by being forced to leave US as US citizen and US
permanent resident without any explanation and lacked of due process,they were substantially and
mentally damaged.

(Exhibit 6_1, 6_2, 6_3, 6_4)

29. Afterwards we discovered what Officer Paul did is Violation of The Law, then reported to CBP,
but only got the “Cover up” ,“Harassment”and “Retaliation” from CBP.

30. This time CBP unlawfully blocked S.T from normally visiting his 2 US citizen babies in US by
ironically charging S.T as “ intending immigrant as having 2 US citizen children”, as retaliation.
(see the details of the Summary 1)

31. As US citizen, protected by the Constitution, H.Z's 2 US citizen babies deserve the right to
being visited by their father and being cared and educated during their most important period of life
time, but the right was just deprived by CBP illegally. Seattle is an international and well civilized
city, just cannot believe this kind of thing can happen here!

32. Conclusion: some CBP officers attempting to cover up their mistake of forgetting to stamp on
the passport from the first place, then from their vanity, arrogance and immoral purpose, instead of
one single and simple apology, they chose to repeat lie,concealment,destruction of evidence and
retaliation and etc at all cost, they continuously switched their charge on us from one to another,
from “not having admission stamp in the passport for the previous entry.” to “as investor of one US
company, performing direct sales and installation of lighting equipment “,then again to “intending
immigrant as having 2 US citizen children “.3 times! Instead of one single apology,eventually they
deprived 2 US citizen babies' human right to being visited by the father with charge on their father
as having 2 US citizen babies! What a great ironic joke for Seattle, the beautiful city I love!

33. Supplement:Detention of nursing women and babies

According to CBP National Standards on" Transport, Escort, Detention, and Search Policy",
Nursing Detainees will be offered a snack upon arrival and a meal at least every six hours , must
have regular access to snacks, milk, and juice. Food must be appropriate for at-risk detainees’ age
and capabilities(such as formula and baby food).

H.Z with her 7-months-old son D.G. and 17-month-old daughter I.G., apparently, She was a
nursing women with 2 babies, they were detained in the hall, they didnot have access to food and
drinking water. they were detained from 5PM to midnight, 7hours, they were all starving,
exhausting, scared, but CBP officer never provided any food and water to them.

Cause of Action
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Case 2:19-cv-01211-TL Document 1 Filed 08/06/19 Page 6 of 13

(Administrative Procedure Act, 5 U.S.C. § 706(2)(a)(d))
34, Plaintiffs reallege and incorporate by reference the allegations set forth in the preceding
paragraphs of this Complaint.

35. Paul refused H.Z' and her 2 U.S citizen babies' entry without “hearing”, without due process of
the law, apparently violating the Fifth Amendment(“without due process of law”) and The
Administrative Procedure Act, 5 U.S.C. § 706(2)(a)(“ arbitrary, capricious, an abuse of discretion”)
and The Administrative Procedure Act, 5 U.S.C. § 706(2)(d)(“ without observance of procedure
required by law”) and Fourteenth Amendment("a person's rights to life,liberty or property shall not
be deprived without due process of law,nor shall any person be denied equal protection of the
laws.")

36. Just a few days later, H.Z and her 2 U.S citizen babies were authorized to enter U.S by other
CBP officer also completely proved Paul was totally wrong.

37. During the long detention, H.Z and her 2 U.S citizen babies were not provided with necessary
formula and baby food, strongly against even CBP National Standards, also violating The
Administrative Procedure Act, 5 U.S.C. § 706(2)(a)(b)(d).

(Fifth Amendment)

38. Plaintiffs reallege and incorporate by reference the allegations set forth in the preceding
paragraphs of this Complaint.

39. Paul coerced S.T to sign the The Fraudulent Sworn Statement by threatening” if you don't sign,
it means you don't cooperate, which will affect your entry into U.S in the future”, violating the Fifth
Amendment(“a right against forced self-incrimination”)

(Administrative Procedure Act)

40. Plaintiffs realleges and incorporates by reference the allegations set forth in the preceding
paragraphs of this Complaint.

41. After S.T pointed out part of the Sworn Statement Paul wrote is wrong, but Paul ignored and
refused to let S.T correct it, “You have to let people correct his own statement before sign it”,
apparently violating The Administrative Procedure Act, 5 U.S.C. § 706(2)(a)(b)(d).

Based on the The Fraudulent Sworn Statement even without S.T's signature, as well as against
the fact shown by IRS and other government agencies, Paul revoked S.T's “VWP” and refused his
entry to U.S is far beyond “ arbitrary, capricious, an abuse of discretion” ,much close to a
crime”Evidence forgery” 18 U.S. Code § 1506, apparently violating The Administrative Procedure
Act, 5 U.S.C. § 706(2)(a).

42. Also without observance of procedure required by law, contrary to constitutional right, again
apparently violating The Administrative Procedure Act, 5 U.S.C. § 706(2)(b)(d).

43. After S.T reported the mistake of the statement and legitimate evidence to Paul's
supervisors(Cynthia Ralko, John Dahm), they ignored and refused to correct, apparently violating
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Case 2:19-cv-01211-TL Document 1 Filed 08/06/19 Page 7 of 13

The Administrative Procedure Act, 5 U.S.C. § 706(2)(a)(b)(d). “You have to correct what has been
proved wrong”.

After S.T reported Paul's misconduct and negligence, instead of correction and apology, Paul's
supervisors (Cynthia Ralko, John Dahm) suddenly switched the doubtful charge on S.T to another
absolutely unrelated and groundless new one, to only indicate it is nothing but Cover up, Harassment
and Retaliation, much close to a crime 18 U.S. Code § 1506,1513,1519, and apparently violating
The Administrative Procedure Act, 5 U.S.C. § 706(2)(a)(b)(d).

44. CBP officers switched their refusal charge on S.T's admission. Bring the new refusal charge on
S.T without S.T's new admission. It is very ridiculous. Apparently violating The Administrative
Procedure Act, 5 U.S.C. § 706(2)(a)(b)(d).

(Federal Tort Claims Act)
(28 U.S.C. § 1346, 2671 )
negligent or wrongful act or omission of any employee of the Government
] ful f i f th

45. Plaintiffs reallege and incorporate by reference the allegations set forth in the preceding
paragraphs of this Complaint.

46. Without due process of law, Paul deported H.Z and her 2 U.S citizen children, but several days
later, other CBP officers let H.Z and her 2 U.S citizen children enter, absolutely properly fall into
place of “ Negligence” of FTCA.

47. During the long detention, H.Z and her 2 U.S citizen babies were not provided with necessary
formula and baby food, strongly against even CBP National Standards, absolutely properly fall into
place of “ Negligence” of FTCA.

48. After S.T pointed out part of the Sworn Statement Paul wrote is wrong, but Paul ignored and
refused to let S.T correct it, “You have to let people correct his own statement before sign it”,
abosulately properly fall into place of “ Negligence” of FTCA.

49. After S.T reported the mistake of the statement and legitimate evidence to Paul's
supervisors(Cynthia Ralko, John Dahm), they ignored and refused to correct, absolutely properly
fall into place of “ Negligence” of FTCA. “You have to correct what has been proved wrong”.

50. After S.T reported Paul's “ negligent and wrongful act and omission” activity to his
supervisors(Cynthia Ralko, John Dahm), they refused to correct Paul's activity, properly fall into
place of “ negligent or wrongful act or omission” of FTCA.

51. InS.T's Sworn Statement written by Paul, Paul

(1) add the words S.T never said , properly fall into place of “ negligent or wrongful act” of
FTCA.

(2) make S.T think Paul is asking about A, but use S.T's answer for B, properly fall into place
of “ negligent or wrongful act” of FTCA.

52. Considering the incident as a whole, including Paul wrote S.T's Sworn Statement “ negligently
or wrongfully”, ignored and refused S.T's objection “ negligently or wrongfully”, then based on the
wrong information he revoked S.T's “VWP” and refused S.T's admission, which causing S,T's
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Case 2:19-cv-01211-TL Document 1 Filed 08/06/19 Page 8 of 13

mental and economical damage, comprehensively constitutes the “ negligent or wrongful act” of
FICA.

53. Paul coerced S.T to sign his Sworn Statement, properly fall into place of “ negligent or
wrongful act” of FTCA.

54. Considering the incident as a whole, including Paul's supervisors(Cynthia Ralko, John Dahm)
ignored S.T's legitimate objection report about the his Sworn Statement“ negligently or
wrongfully”, and negligent to supervise their subordinate(Paul) , just suddenly switched to
absolutely unrelated and groundless new one to escape “ negligently or wrongfully”, which causing
S,T'mental and economical damage, comprehensively constitutes the “ negligent or wrongful act”
of FTCA.

55. CBP officers switched their refusal charge on S.T's admission. Bring the new refusal charge on
S.T without S.T's new admission. It is very ridiculous. Properly fall into place of “ negligent or
wrongful act” of FTCA.

About Minor
56. I.G. was 19 months and G.D. was 7 months old, due to CBP officers' “negligent or wrongful act
or omission”, both babies suffering from PTSD and Anxiety Disorder( Exhibit 6 ), they often cry
during sleep, get very anxious and crying whenever separated with their mother.

57. I.G. had apparent behavior regression. Before the accident, I.G. was potty-trained, and played
happily with friends. But after the accident, she had to wear diapers again as she wet her pants all
the time, and always sit alone, and started to bite other children sometimes.

58. Before the accident, D.G. could sleep in his own crib for the whole night without problem. But
after that, he often wakes up crying during sleeping, and could not sleep by himself, he could only
sleep with his mother.

(Expungement (Erase)) Action at Common Law )
59. Plaintiffs reallege and incorporate by reference the allegations set forth in the preceding

paragraphs of this Complaint.

60. Paul coerced S.T to sign and threatened S.T to sign by “if you don't sign, it means you don't
cooperate, which will affect your entry into U.S in the future”.

61. After S.T reported Paul's misconduct and negligence, instead of correction and apology, Paul's
supervisors (Cynthia Ralko, John Dahm) suddenly switched the charge of S.T to another absolutely
unrelated and groundless new one.

62. Upon information and belief, CBP has entered and maintains unfair and inaccurate record of
5.T

63. S.T is entitled to declaratory and injunctive relief ordering that those unfair and inaccurate
records related to him to be expunged (erased).
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Case 2:19-cv-01211-TL Document 1 Filed 08/06/19 Page 9 of 13

(Fourteen Amendment)

64. Plaintiffs reallege and incorporate by reference the allegations set forth in the preceding
paragraphs of this Complaint.

65. “a person's rights to life,liberty or property shall not be deprived without due process of law,nor
shall any person be denied equal protection of the laws” from Fourteen Amendment.

66. I.G and D.G were 1 year and 2 years old American children then. They have a nice father and
deserved to being visited, cared and educated, just as other general American children. But so far
the basic human right protected by Constitution has been just deprived by CBP, through “ coerce to
sign”, ”Evidence forgery”, “Cover up and Retaliation”.

More ironically, being US citizen baby become the reason to to be discriminated by CBP, who are

American too!

(Due process of law)

67. Plaintiffs reallege and incorporate by reference the allegations set forth in the preceding
paragraphs of this Complaint.

68. CBP officers switched their refusal charge on S.T.It is switch, which means they actually
rescinded the prior charge and bring the new one on S.T's admission. But if they rescinded the prior
refusal charge on S.T's prior admission to USA, which mean S.T can enter USA freely again
now,how can they bring the new refusal charge on S.T without S.T's new admission? Very simple:
S.T has not tried to enter USA since then, how can they refuse S.T's admission? Apparently
violating the Fifth Amendment(“without due process of law”) and The Administrative Procedure
Act, 5 U.S.C. § 706(2)(a)(“ arbitrary, capricious, an abuse of discretion”) and The Administrative
Procedure Act, 5 U.S.C. § 706(2)(d)(“ without observance of procedure required by law”) and
Fourteenth Amendment("a person's rights to life,liberty or property shall not be deprived without
due process of law,nor shall any person be denied equal protection of the laws.") and also violating
Immigration and Nationality Act.

69. During the long detention, H.Z and her 2 U.S citizen babies were not provided with necessary
formula and baby food, strongly against even CBP National Standards, apparently violating the
Fifth Amendment(“without due process of law”) and The Administrative Procedure Act, 5 U.S.C. §
706(2)(a)(“ arbitrary, capricious, an abuse of discretion”) and The Administrative Procedure Act, 5
U.S.C. § 706(2)(d)(“ without observance of procedure required by law”) and Fourteenth
Amendment("a person's rights to life,liberty or property shall not be deprived without due process
of law,nor shall any person be denied equal protection of the laws.").

(Race Discrimination)
(Fifth Amendment, First Amendment, Immigration and Nationality Act(8 U.S.C. § 1152(a)(1)
(A)),Fourteenth Amendment,Civil Rights Act of 1964)

70. Plaintiffs realleges and incorporates by reference the allegations set forth in the preceding
paragraphs of this Complaint.
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Case 2:19-cv-01211-TL Document 1 Filed 08/06/19 Page 10 of 13

71. Paul(Caucasian) repeatedly race discriminated and humiliated S.T(Asian) by “ Visa Waiver
Program(“VWP?”) is privilege for your people”.Actually VWP is fair mutual treaty between 2
countries(Japanese can enter USA without visa and simultaneously American can enter Japan
without visa too), and “your people” means Asian here.

72, Paul(Caucasian) alone detained and investigated S.T(Asian) for 7 hours in a small and cold
room, a well armed and powerful Caucasian with all authority stayed in a very small “cell” with a
weak Asian who has nothing to protect himself, two people together for 7 hours!!! the whole day! It
is extremely easy to create the race discrimination environment. A race discrimination environment
make people tend to discriminate!

73. After Paul(Caucasian) refused S.T(Asian) admission to US by Evidence forgery. Paul also
forced H.Z(Asian) and her 2 US citizen children(Asian) to leave US by violation of due process of
law. And they are all Asian.

74, Apparently and undoubtedly “ Race Discrimination” is one big reason for Paul to do these.

75. Therefore, Paul violated the following Constitutions and Statutes:

Fifth Amendment: The Due Process Clause of the Fifth Amendment prohibits the federal
government from denying equal protection of the laws. But Paul was motivated by animus and a
desire to harm a particular race and nation.

First Amendment: The Establishment Clause of the First Amendment prohibits the federal
government from officially preferring one religion over another. Paul has violated the Establishment
Clause of the First Amendment.

Immigration and Nationality Act(8 U.S.C. § 1152(a)(1)(A)): prohibits discrimination in the
issuance of visas on the basis of race,nationality,place of birth, or place of residence. And Paul has
violated it.

Fourteenth Amendment: a person's rights to life,liberty or property shall not be deprived without
due process of law,nor shall any person be denied equal protection of the laws. Paul has violated it.

Civil Rights Act of 1964: Outlawed discrimination based on race, color, religion or national
origin. Paul has violated it.

Prayer For Relief

Wherefore, Plaintiff respectfully prays the Court:

76. (1) Vacate Charge of Inadmissibility of S.T to US
(2) Expunge (erase) all the unfair, inaccurate record or investigatory information regarding $.T
(3) Award S.T 1,500,000 USS for substantial and mental damage

77. Reason:

Because CBP officer's Misconduct, Malicious Prosecution, Discrimination , Retaliation, Abuse
of Process,Negligent Supervision, Negligence, Evidence forgery, Cover up, Harassment ,Destruction
of evidence, Coerce, Negligent or Wrongful act or Omission
a. S.T had to change his travel schedule suddenly, cancelled booked tickets without refund,made
new unexpected expensive ones..

b. S.T was mentally damaged and got sick with PDST. (Exhibit 7), particularly the pain as a father.

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Case 2:19-cv-01211-TL Document 1 Filed 08/06/19 Page 11 of 13

c. so far(nearly 5 years) S.T cannot normally visit US and trade between US and Japan as before,
also as other general business people, so many business opportunity have been lost, so many
business meeting cannot be joined, particularly as an international business person, as US occupies
the almost 30% GDP of the world!

d. so far(nearly 5 years) S.T cannot normally visit his US citizen children in US who were 1 and 2
years old as before, as other general fathers, when is the most important time/age for children to
need father's care and education,particularly so painful as a father.

78. (4)Award H.Z 500,000 US$ for substantial and mental damage,
(5)Award I.G 500,000 US$ for substantial and mental damage
(6)Award D.G 500,000 US$ for substantial and mental damage

79. Reason:

Because CBP officer's Misconduct, Malicious Prosecution, Discrimination , Retaliation, Abuse
of Process, Negligent Supervision, Negligence, Evidence forgery, Cover up, Harassment ,Destruction
of evidence, Coerce, Negligent or Wrongful act or Omission
a. H.Z had to change her travel schedule suddenly, cancelled booked tickets without refund,made
new unexpected expensive ones..

b. H.Z and her 2 US citizen children were substantial and mentally damaged.

c. so far(nearly 5 years) I.G and D.G have been illegally deprived by CBP of the right which is
totally protected by the Constitutions to being visited by father and cared and educated normally
and naturally,just as other normal babies in the neighbour in USA.

80. Grant any other relief the Court deems just and equitable.

Fact Summary

81. We were driving back to US from Canada on Sep 29th 2015, planning to have dinner in nice
restaurant at Seattle. We arrived at the US-Canada border at about 5PM, after we showed our
passports to the border officer , he ask S.T when S.T entered US last time, S.T told him it was July
26th, 2015 at Los Angeles international airport, the officer couldn’t find the entry stamp on S.T’s
passport which the CBP officer at LAX forgot to stamp, so he told S.T to go into the CBP station to
fix the stamp issue as secondary inspection.

82. But unfortunately at the station Officer Paul turned the secondary inspection to fix their mistake
of stamp into “fix $.T and S.T’s family” from his own personal immoral purpose(include Race
Discrimination).

83. After we enter the CBP station, Officer Paul took all our passports, and he did not ask anything
about the stamp thing, only asked what S.T do. And he also detained H.Z and her babies.

84. From 5pm to 12PM, about 7 hours, It’s getting colder in the late night, our babies and their
mother were exhausted, hungry, thirsty, sleepy, cold,crying and scared. There are no place to rest
except the cold floor, nothing to eat,nothing to drink. Paul did not provide any baby formula and
water at all for 2 US citizen babies during the whole time, 7 hours!!! America with the bless from
the God definitely should not have this kind of thing happen!

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Case 2:19-cv-01211-TL Document 1 Filed 08/06/19 Page 12 of 13

85. At the same time, S.T were questioned by officer Paul in the small detention room alone for 7
hours,only Paul and S.T. (One strong Caucasian with fully armed, one weak Asian with only a pen)

86. It was cold , no food provided, and our babies were crying all the time just outside S.T’s
detention room, S.T was exhausted, hungry, thirsty, scared and under extreme pressure. But the
most painful thing is to see our 2 babies crying beside S.T , and crying because of S.T ,but S.T
cannot do anything for them, and S.T felt so helpless for them! We believe all the fathers around the
world will have the same feeling as S.T and feel the same S.T’s pain deeply. The pain! for every
decent man.

So S.T tried hard to be cooperative, at least tried hard to show S.T is cooperative,not only for $.T
but also for S.T’s babies. S.T tried to smile to Paul all the time, and tried to answer his every
question with very good manner,nicely and smiling. But Paul always returned with a very cold face!

87. Even though officer Paul saw that we were on vacation back from Canada, and stopped by the
border officer only for the stamp issue, he tried to mislead S.T and made up S.T’s statement by his
own way to show S.T conducted daily operation business for one US company as investor which
S.T is totally not. Then after showed S.T the statement Paul wrote, Paul wrote it!not S.T! Paul
threatened S.T to sign by saying that It would affect S.T’s next entry to US if S.T doesn’t

sign ,which mean S.T could not see S.T’s babies. S.T refused because most things on the statement
were not true and even not S.T’s words or meaning, S.T asked Paul to correct it, and even tried to
correct by S.T himself, but Paul refused rudely and destroyed the paper S.T corrected, again
destroyed the paper S.T corrected ! Paul grabbed S.T’s hand and took S.T’s fingerprint, then Paul
threatened S.T again to sign the signature. S.T still refused again.

88. After 7 hours detention, without explanation, Paul forced all of us to leave the US border and
sent us back to Canada,even though our babies are US citizen and their mother who was US
permanent resident(she became US citizen one year later).

89. It was already midnight, just a few minutes before the Canadian border closed,which mean we
almost stuck between 2 borders and has no way to go at the cold and heavy foggy middle dark

night.

90. A few days later, when H.Z and her 2 babies tried to enter US again, another CBP officer just
let them enter very very smoothly. What an ironic thing!

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Case 2:19-cv-01211-TL Document 1 Filed 08/06/19 Page 13 of 13

DATED: July 31, 2019 Respectfully submitted,

Plaintiffs:

  
  

tees 2 Oo .....

Huifang Zhang

1.G. DD. Gb “

Shunichi Takahashi

ter.

Huifang Zhang also on behalf of 1.G and DG

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